
867 A.2d 838 (2005)
272 Conn. 921
Homer G. SCOVILLE
v.
SHOP-RITE SUPERMARKETS, INC., et al.
Supreme Court of Connecticut.
Decided January 27, 2005.
Andrew J. O'Keefe and Joseph M. Busher, Jr., Hartford, in support of the petition.
Barbara A. Frederick, Craig A. Raabe, Lisa K. Titus, Charles D. Ray and Eric W. Wiechmann, Hartford, in opposition.
The plaintiff's petition for certification for appeal from the Appellate Court, 86 Conn.App. 426, 863 A.2d 211 (2004), is denied.
